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                                                                                                             UNITED STATES DISTRICT COURT
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                                                                                                          NORTHERN DISTRICT OF CALIFORNIA
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                                                                         9    DEREK WHEAT,
                                                                         10                         Plaintiff,                            No. C-13-05950EDL
United States District Court




                                                                         11          v.                                                   CASE MANAGEMENT AND
                                                                                                                                          PRETRIAL ORDER FOR JURY TRIAL
                               For the Northern District of California




                                                                         12   HAROLD ORR, et al.,
                                                                         13                     Defendants.
                                                                              _______________________________/
                                                                         14
                                                                                     Following the Case Management Conference held on June 10, 2014, IT IS HEREBY ORDERED
                                                                         15
                                                                              THAT pursuant to Fed. R. Civ. P. 16, the following case management and pretrial order is entered:
                                                                         16
                                                                                     1.     TRIAL DATE
                                                                         17
                                                                                            a.      Jury trial will begin on August 17, 2015 at 8:30 a.m. in Courtroom E, 15th Floor,
                                                                         18
                                                                              450 Golden Gate Avenue, San Francisco, CA 94102. Should a daily transcript and/or realtime reporting
                                                                         19
                                                                              be desired, the parties shall make arrangements with Debra Campbell, Court Reporter Supervisor, at
                                                                         20
                                                                              (415) 522-2079 or Debra_Campbell@cand.uscourts.gov, at least 14 days prior to the trial date.
                                                                         21
                                                                                            b.      The length of the trial will be not more than 4 days.
                                                                         22
                                                                                     2.     DISCOVERY
                                                                         23
                                                                                            a.      All non-expert discovery shall be completed no later than March 2, 2015. There
                                                                         24
                                                                              will be no further non-expert discovery after that date except by order of the Court for good cause
                                                                         25
                                                                              shown. Motions to compel non-expert discovery must be filed within the time limits contained in Civil
                                                                         26
                                                                              Local Rule 26-2.
                                                                         27
                                                                                            b.      Initial expert disclosures shall be made no later than May 12, 2015. Rebuttal
                                                                         28
                                                                              expert disclosures shall be made no later than May 26, 2015. All treating physicians who will provide
                                                                                  Case 3:13-cv-05950-EDL Document 45 Filed 06/13/14 Page 2 of 9



                                                                         1    opinion testimony beyond that which can be provided by a lay person must be disclosed as expert
                                                                         2    witnesses, but they need not prepare expert reports unless ordered to do so by the Court.
                                                                         3                   c.      All expert discovery shall be completed no later than June 9, 2015. There will
                                                                         4    be no further expert discovery after that date except by order of the Court for good cause shown.
                                                                         5    Motions to compel expert discovery must be filed within the time limits contained in Civil Local Rule
                                                                         6    26-2.
                                                                         7                   d.      Rule 26(e)(1) of the Federal Rules of Civil Procedure requires all parties to
                                                                         8    supplement or correct their initial disclosures, expert disclosures, pretrial disclosures, and responses to
                                                                         9    discovery requests under the circumstances itemized in that Rule, and when ordered by the Court. The
                                                                         10   Court expects that the parties will supplement and/or correct their disclosures promptly when required
United States District Court




                                                                         11   under that Rule, without the need for a request from opposing counsel. In addition to the general
                               For the Northern District of California




                                                                         12   requirements of Rule 26(e)(1), the parties will supplement and/or correct all previously made
                                                                         13   disclosures and discovery responses 28 days before the fact discovery cutoff date.
                                                                         14                  e.      Pursuant to Civil L.R. 37-1(b), telephone conferences are available to resolve
                                                                         15   disputes during a discovery event, such as a deposition, where the resolution during the event likely
                                                                         16   would result in substantial savings of expense or time.
                                                                         17                  f.      Privilege logs. If a party withholds information that is responsive to a discovery
                                                                         18   request, and is otherwise discoverable under the Federal Rules of Civil Procedure, by claiming that it
                                                                         19   is privileged, or protected from discovery under the attorney work product doctrine or any other
                                                                         20   protective doctrine (including, but not limited to, privacy rights), that party shall prepare a "privilege
                                                                         21   log" (Fed. R. Civ. P. 26(b)(5)) setting forth the privilege relied upon and specifying separately for each
                                                                         22   document or for each category of similarly situated documents:
                                                                         23                                  1.      The name and job title or capacity of the author;
                                                                         24                                  2.      The name and job title or capacity of each recipient;
                                                                         25                                  3.      The date the document was prepared and, if different, the date(s)
                                                                         26                                          on which it was sent to or shared with persons other than its
                                                                         27                                          author(s);
                                                                         28                                  4.      The title and description of the document;
                                                                                                             5.      The subject matter addressed in the document;

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                                                                         1                                   6.      The purpose(s) for which it was prepared or communicated; and
                                                                         2                                   7.      The specific basis for the claim that it is privileged.
                                                                         3           The privilege log will be produced as quickly as possible, but no later than 14 days after the
                                                                         4    discovery responses are due (in a rolling production, 14 days after each set of documents is produced),
                                                                         5    unless the parties stipulate or the Court orders otherwise in a particular case.
                                                                         6                     g.    In responding to requests for documents and materials under Rule 34 of the
                                                                         7    Federal Rules of Civil Procedure, all parties shall affirmatively state in a written response served on all
                                                                         8    other parties the full extent to which they will produce materials and shall, promptly after the
                                                                         9    production, confirm in writing that they have produced all such materials so described that are locatable
                                                                         10   after a diligent search of all locations at which such materials might plausibly exist.
United States District Court




                                                                         11          3.        MOTIONS
                               For the Northern District of California




                                                                         12          The last day to file a motion, or stipulation and proposed order, to join other parties shall be
                                                                         13   June 23, 2014.
                                                                         14          The last day to file a motion, or stipulation and proposed order, to amend the pleadings shall
                                                                         15   be June 23, 2014.
                                                                         16          The last day for hearing dispositive motions shall be April 28, 2015. Dispositive motions shall
                                                                         17   be served and filed no later than thirty-five (35) days prior to the scheduled hearing date. Briefing shall
                                                                         18   be in compliance with Civil Local Rule 7-3.
                                                                         19          4.        ALTERNATIVE DISPUTE RESOLUTION/SETTLEMENT CONFERENCE
                                                                         20          The parties shall engage in a settlement conference during May 2015 or as soon thereafter as
                                                                         21   possible.
                                                                         22          5.        PRETRIAL CONFERENCE
                                                                         23                    a.    A pretrial conference shall be held on July 21, 2015 at 2:00 p.m. in Courtroom
                                                                         24   E, 15th Floor. Each party shall attend personally or by lead counsel who will try the case. The
                                                                         25   timing of disclosures required by Federal Rule of Civil Procedure 26(a)(3) and other pretrial disclosures
                                                                         26   shall be governed by this order.
                                                                         27                    b.    At least thirty (30) days prior to the date of the pretrial conference, lead counsel
                                                                         28   shall meet and confer regarding:
                                                                                                     (1)     Preparation and content of the joint pretrial conference statement;

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                                                                                  Case 3:13-cv-05950-EDL Document 45 Filed 06/13/14 Page 4 of 9



                                                                         1                      (2)    Preparation and exchange of pretrial materials to be served and lodged
                                                                         2                             pursuant to paragraph 5(c) below; and
                                                                         3                      (3)    Settlement of the action.
                                                                         4                c.    At least twenty (20) days prior to the pretrial conference, counsel and/or parties
                                                                         5    shall:
                                                                         6                      (1)    Serve and file a joint pretrial statement that includes the pretrial
                                                                         7                             disclosures required by Federal Rule of Civil Procedure 26(a)(3) as well
                                                                         8                             as the following supplemental information:
                                                                         9                             (a)     The Action.
                                                                         10                                    (i)     Substance of the Action. A brief description of the
United States District Court




                                                                         11                                            substance of claims and defenses which remain to be
                               For the Northern District of California




                                                                         12                                            decided.
                                                                         13                                    (ii)    Relief Prayed. A detailed statement of all the relief
                                                                         14                                            claimed, particularly itemizing all elements of damages
                                                                         15                                            claimed as well as witnesses, documents or other
                                                                         16                                            evidentiary material to be presented concerning the
                                                                         17                                            amount of those damages.
                                                                         18                            (b)     The Factual Basis of the Action.
                                                                         19                                    (i)     Undisputed Facts. A plain and concise statement of all
                                                                         20                                            relevant facts not reasonably disputable, as well as which
                                                                         21                                            facts parties will stipulate for incorporation into the trial
                                                                         22                                            record without the necessity of supporting testimony or
                                                                         23                                            exhibits.
                                                                         24                                    (ii)    Disputed Factual Issues. A plain and concise statement
                                                                         25                                            of all disputed factual issues which remain to be decided.
                                                                         26                                    (iii)   Agreed Statement. A statement assessing whether all or
                                                                         27                                            part of the action may be presented upon an agreed
                                                                         28                                            statement of facts.



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                                                                              Case 3:13-cv-05950-EDL Document 45 Filed 06/13/14 Page 5 of 9



                                                                         1                              (iv)    Stipulations. A statement of stipulations requested or
                                                                         2                                      proposed for pretrial or trial purposes.
                                                                         3                        (c)   Disputed Legal Issues.
                                                                         4                              Without extended legal argument, a concise statement of each
                                                                         5                              disputed point of law concerning liability or relief, citing
                                                                         6                              supporting statutes and decisions, and any procedural or
                                                                         7                              evidentiary issues.
                                                                         8                        (d)   Trial Preparation.
                                                                         9                              (i)     Witnesses to Be Called.       With regard to witnesses
                                                                         10                                     disclosed pursuant to Federal Rule of Civil Procedure
United States District Court




                                                                         11                                     26(a)(3)(A), a brief statement describing the substance of
                               For the Northern District of California




                                                                         12                                     the testimony to be given.
                                                                         13                             (ii)    Estimate of Trial Time. An estimate of the number of
                                                                         14                                     hours needed for the presentation of each party’s case,
                                                                         15                                     indicating possible reductions in time through proposed
                                                                         16                                     stipulations, agreed statements of facts, or expedited
                                                                         17                                     means of presenting testimony and exhibits.
                                                                         18                             (iii)   Use of Discovery Responses. Designate excerpts from
                                                                         19                                     discovery that the parties intend to present at trial, other
                                                                         20                                     than solely for impeachment or rebuttal, from depositions
                                                                         21                                     specifying the witness with page and line references, from
                                                                         22                                     interrogatory answers, or from responses to requests for
                                                                         23                                     admission.
                                                                         24                       (e)   Trial Alternatives and Options.
                                                                         25                             (i)     Settlement Discussion. A statement summarizing the
                                                                         26                                     status of settlement negotiations and indicating whether
                                                                         27                                     further negotiations are likely to be productive.
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                                                                         1                               (ii)    Amendments, Dismissals. A statement of requested or
                                                                         2                                       proposed amendments to pleadings or dismissals of
                                                                         3                                       parties, claims or defenses.
                                                                         4                               (iii)   Bifurcation, Separate Trial of Issues. A statement of
                                                                         5                                       whether bifurcation or a separate trial of specific issues is
                                                                         6                                       feasible and desired.
                                                                         7                        (f)    Miscellaneous.
                                                                         8                               Any other subjects relevant to the trial of the action or material
                                                                         9                               to its just, speedy and inexpensive determination.
                                                                         10                 (2)   Serve and file trial briefs, motions in limine (including any motion
United States District Court




                                                                         11                       regarding the qualifications or testimony of any expert witness),
                               For the Northern District of California




                                                                         12                       proposed voir dire questions, jury instructions, verdict forms and excerpts
                                                                         13                       from discovery that will be offered at trial (include a copy of the
                                                                         14                       deposition testimony or admission). The parties shall submit proposed
                                                                         15                       jury instructions jointly. If there are any instructions on which the
                                                                         16                       parties cannot agree, those instructions may be submitted separately;
                                                                         17                 (3)   Serve and file an exhibit setting forth the qualifications and experience
                                                                         18                       of each expert witness;
                                                                         19                 (4)   Serve and file a list of each party’s exhibits by numbers 1-500 (plaintiff)
                                                                         20                       or numbers 750-1250 (defendant), including a brief statement describing
                                                                         21                       the substance and purpose of each exhibit and the name of the sponsoring
                                                                         22                       witness;
                                                                         23                 (5)   Exchange exhibits which shall be premarked (plaintiff shall use numbers
                                                                         24                       1-500; defendant shall use numbers 750-1250) and tabbed. Exhibits shall
                                                                         25                       be three-hole punched and shall be submitted in binders. Each exhibit
                                                                         26                       shall be marked on the front page or on the back of the last page with the
                                                                         27                       information contained in Exhibit A to this Order; and
                                                                         28                 (6)   Deliver two sets of all premarked exhibits to chambers (exhibits are not
                                                                                                  to be filed). The two sets of premarked exhibits shall be for Court use

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                                                                         1                                   only. The parties shall bring a third set of their trial exhibits to trial to
                                                                         2                                   present to witnesses.
                                                                         3           No party shall be permitted to call any witness or offer any exhibit in its case in chief that is not
                                                                         4    disclosed in its pretrial statement, exchanged with opposing counsel, and delivered to the Court, by the
                                                                         5    above deadline, without leave of the Court and for good cause.
                                                                         6                   d.      At least ten (10) days prior to the pretrial conference, after meeting and
                                                                         7    conferring in a good faith attempt to resolve any objections, counsel and/or parties shall serve and file:
                                                                         8    (1) any objections to exhibits or to the use of deposition excerpts or other discovery; (2) any objections
                                                                         9    to non-expert witnesses; (3) any objection to proposed voir dire questions, jury instructions and verdict
                                                                         10   forms that the parties have been unable in good faith to resolve; (4) any opposition to a motion in limine.
United States District Court




                                                                         11   No replies shall be filed.
                               For the Northern District of California




                                                                         12                  e.      All motions in limine and objections shall be heard at the pretrial conference.
                                                                         13          6.      JURY TRIAL
                                                                         14                  a.       Counsel shall submit an agreed upon set of voir dire questions to be posed by
                                                                         15   the Court. Any voir dire questions on which counsel cannot agree may be submitted separately.
                                                                         16   Counsel shall be allowed brief follow-up voir dire after the Court's questioning.
                                                                         17                  b.      The following jury instructions from the Manual of Model Civil Jury Instructions
                                                                         18   for the Ninth Circuit (2007 Edition) shall be given absent objection: 1.1-1.2, 1.6-1.14, 1.18, 2.11.
                                                                         19   Counsel shall submit jointly an agreed upon set of case specific instructions, using the Ninth Circuit
                                                                         20   Manual where appropriate. Do not submit duplicates of those listed above. Any instructions on which
                                                                         21   counsel cannot agree may be submitted separately. Each requested instruction shall be typed in full on
                                                                         22   a separate page with citations to the authority upon which it is based and a reference to the party
                                                                         23   submitting it. A second blind copy of each instruction and verdict form shall also be submitted,
                                                                         24   omitting the citation to authority and the reference to the submitting party.
                                                                         25          7.      All documents filed with the Clerk of the Court shall list the civil case number followed
                                                                         26   by the initials "EDL." One copy shall be clearly marked as a chambers copy. Chambers copies shall
                                                                         27   be three-hole punched at the left side, suitable for insertion into standard binders. In addition, all
                                                                         28   proposed jury instructions, motions in limine, forms of verdict and trial briefs shall be accompanied by



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                                                                                  Case 3:13-cv-05950-EDL Document 45 Filed 06/13/14 Page 8 of 9



                                                                         1    a diskette containing a copy of the document formatted in WordPerfect 6.1, 7, 8, 9 or 10 (Windows) or
                                                                         2    8.0 (Windows).
                                                                         3
                                                                         4    Dated: June 13, 2014
                                                                                                                          _______________________________________
                                                                         5                                                ELIZABETH D. LAPORTE
                                                                                                                          United States Chief Magistrate Judge
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                                                                         10
United States District Court




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                               For the Northern District of California




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                                                                                      EXHIBIT A

UNITED STATES DISTRICT COURT                             UNITED STATES DISTRICT COURT                             UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF CALIFORNIA                          NORTHERN DISTRICT OF CALIFORNIA                          NORTHERN DISTRICT OF CALIFORNIA

Case Number:                                             Case Number:                                             Case Number:

PLTF / DEFT EXHIBIT                                      PLTF / DEFT EXHIBIT                                      PLTF / DEFT EXHIBIT
NO._____________                                         NO._____________                                         NO._____________

Date                                                     Date                                                     Date
Admitted:________________________                        Admitted:________________________                        Admitted:________________________

By:_______________________________                       By:_______________________________                       By:_______________________________
         Stephen Ybarra, Deputy Clerk                            Stephen Ybarra, Deputy Clerk                             Stephen Ybarra, Deputy Clerk

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UNITED STATES DISTRICT COURT                             UNITED STATES DISTRICT COURT                             UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF CALIFORNIA                          NORTHERN DISTRICT OF CALIFORNIA                          NORTHERN DISTRICT OF CALIFORNIA

Case Number:                                             Case Number:                                             Case Number:

PLTF / DEFT EXHIBIT                                      PLTF / DEFT EXHIBIT                                      PLTF / DEFT EXHIBIT
NO._____________                                         NO._____________                                         NO._____________

Date                                                     Date                                                     Date
Admitted:________________________                        Admitted:________________________                        Admitted:________________________

By:_______________________________                       By:_______________________________                       By:_______________________________
         Stephen Ybarra, Deputy Clerk                             Stephen Ybarra, Deputy Clerk                             Stephen Ybarra, Deputy Clerk

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UNITED STATES DISTRICT COURT                             UNITED STATES DISTRICT COURT                             UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF CALIFORNIA                          NORTHERN DISTRICT OF CALIFORNIA                          NORTHERN DISTRICT OF CALIFORNIA

Case Number:                                             Case Number:                                             Case Number:

PLTF / DEFT EXHIBIT                                      PLTF / DEFT EXHIBIT                                      PLTF / DEFT EXHIBIT
NO._____________                                         NO._____________                                         NO._____________

Date                                                     Date                                                     Date
Admitted:________________________                        Admitted:________________________                        Admitted:________________________

By:_______________________________                       By:_______________________________                       By:_______________________________
         Stephen Ybarra, Deputy Clerk                            Stephen Ybarra, Deputy Clerk                             Stephen Ybarra, Deputy Clerk

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UNITED STATES DISTRICT COURT                             UNITED STATES DISTRICT COURT                             UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF CALIFORNIA                          NORTHERN DISTRICT OF CALIFORNIA                          NORTHERN DISTRICT OF CALIFORNIA

Case Number:                                             Case Number:                                             Case Number:

PLTF / DEFT EXHIBIT                                      PLTF / DEFT EXHIBIT                                      PLTF / DEFT EXHIBIT
NO._____________                                         NO._____________                                         NO._____________

Date                                                     Date                                                     Date
Admitted:________________________                        Admitted:________________________                        Admitted:________________________

By:_______________________________                       By:_______________________________                       By:_______________________________
         Stephen Ybarra, Deputy Clerk                            Stephen Ybarra, Deputy Clerk                             Stephen Ybarra, Deputy Clerk

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